                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                          *          CRIMINAL NO.: 11-95

                  v.                              *          SECTION: “R”

EFRAIN GRIMALDO                                   *

                                          *       *      *

           GOVERNMENT’S MEMORANDUM SEEKING TRANSFER OF
         DEFENDANT’S MOTION FOR RELIEF UNDER AMENDMENT 782
      TO RETROACTIVITY SCREENING COMMITTEE FOR AMENDMENT 782

       NOW INTO COURT, appearing through the undersigned Assistant United States

Attorney, comes the United States of America, and hereby submits the following memorandum

in response to the defendant’s motion under 18 U.S.C. § 3582(c)(2) for a reduction in sentence

under Amendment 782 to the United States Sentencing Guidelines, which revised the Drug

Quantity Table in U.S.S.G. § 2D1.1, reducing by two levels the offense level applicable to many

drug trafficking offenses. The amendment became effective on November 1, 2014, but no

defendant may be released on the basis of the retroactive amendment before November 1, 2015.

       As a general rule, a criminal sentence is final upon completion of direct review, and the

sentencing court thereafter lacks authority to revisit it. Dillon v. United States, 560 U.S. 817,

824 (2010). Section 3582(c)(2) states a limited exception to this rule, providing:

               [I]n the case of a defendant who has been sentenced to a term of
               imprisonment based on a sentencing range that has subsequently
               been lowered by the Sentencing Commission pursuant to 28 U.S.C.
               994(o), upon motion of the defendant or the Director of the Bureau
               of Prisons, or on its own motion, the court may reduce the term of
               imprisonment, after considering the factors set forth in section
               3553(a) to the extent that they are applicable, if such a reduction is
               consistent with applicable policy statements issued by the
               Sentencing Commission.

18 U.S.C. § 3582(c)(2).

       The provision referenced in this statute, 28 U.S.C. § 994(o), authorizes the Commission

to periodically review and revise the guidelines. Under this authority, on April 30, 2014, the

Commission promulgated Amendment 782, which generally revised the Drug Quantity Table

and chemical quantity tables across drug and chemical types. Consistent with Section 994(p),

the Commission stated that the amendment became effective on November 1, 2014. On July 18,

2014, the Commission voted, pursuant to the authority provided in 28 U.S.C. § 994(u), 1 to make

Amendment 782 applicable to previously sentenced defendants. The Commission further

ordered that the effective date of a sentencing modification must be November 1, 2015, or later.

       In accordance with Amendment 782, Chief United States District Judge Sarah S. Vance

issued a standing order creating the Retroactivity Screening Committee for Amendment 782,

consisting of the Chief Probation Officer or his designee(s), as chairperson, the United States

Attorney or his designee(s), and the Federal Public Defender, or his designee(s).

               The committee is directed to screen all cases of defendants
               identified by the United States Administrative office for the United
               States Courts (“AO”) or the United States Sentencing Commission
               (“USSC”) as potentially eligible for a reduction in sentence
               pursuant to 18 U.S.C. § 3582(c)(2) as a result of the retroactive
               application of Amendment 782, as included in USSG § 1B1.10(c),
               effective November 1, 2014.




               1
                 Section 994(u) states: “If the Commission reduces the term of imprisonment
recommended in the guidelines applicable to a particular offense or category of offenses, it shall
specify in what circumstances and by what amount the sentences of prisoners serving terms of
imprisonment for the offense may be reduced.”

                                                 2
               The committee is also directed to screen the cases of all
               defendants who file motions seeking reductions in sentence
               under 18 U.S.C. § 3582(c)(2) as a result of the retroactive
               application of Amendment 782.

Standing Order, pp. 1-2 (emphasis added), attached as Exhibit “A.” Because this motion seeks a

reduction in sentence under 18 U.S.C. § 3582(c)(2) as a result of the retroactive application of

Amendment 782, it should be transferred to the Retroactivity Screening Committee for

Amendment 782 for consideration.

       WHEREFORE the government respectfully requests that this Court transfer the

defendant’s § 3582 motion to the Retroactivity Screening Committee for Amendment 782.

                                                     Respectfully submitted,

                                                     KENNETH ALLEN POLITE, JR.
                                                     UNITED STATES ATTORNEY


                                                     /s/ John F. Murphy
                                                     JOHN F. MURPHY
                                                     Assistant United States Attorney
                                                     Eastern District of Louisiana
                                                     650 Poydras Street, Suite 1600
                                                     New Orleans, Louisiana 70130
                                                     Telephone No: (504) 680-3126




                                                 3
                               CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2016, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system. I further certify that I caused the foregoing

document to be placed in first class mail addressed to defendant, Efrain Grimaldo, Register No.

30863-379, FCC-Yazoo City Medium, P O. Box 5000, Yazoo City, Mississippi 39194-5000.


                                                   /s/John F. Murphy
                                                   Assistant United States Attorney




                                               4
